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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SHENZHEN ZHEN PIN ZHENG
 DIGITAL ELECTRONIC
 TECHNOLOGY CO., LTD

                        Plaintiff,                       Civil Action No. 1:21-cv-01916

                 v.                                       JURY TRIAL DEMANDED

 THE PARTNERSHIPS AND                                       Judge: John J. Tharp, Jr.
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,


                        Defendants.


                             DECLARATION OF STEVENSON MOORE

         I, Stevenson Moore hereby declare, and state as follows:

         1.     I am an attorney with the law firm Ni, Wang & Massand, PLLC. I am over the age

of eighteen and make this declaration from personal knowledge, unless otherwise indicated below.

I make this declaration in support of Plaintiff’s Motion to Extend the Temporary Restraining

Order.

         2.     I represent Plaintiff Shenzhen Zhen Pin Zheng Digital Electronic Technology Co.,

Ltd. (“Plaintiff”) in the above-styled case.

         3.     Since the entry of this Court’s Temporary Restraining Order, Plaintiff has worked

diligently to comply with the terms of the order.

         4.     I served copies of the Temporary Restraining Order on the third parties identified

in the Temporary Restraining Order (i.e, Amazon.com, Aliexpress.com, Wish.com, Alibaba.com,
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eBay.com, and Paypal, Inc.) on April 21, 2021, the same day the Court entered the Temporary

Restraining Order.

       5.      Plaintiff has yet to receive a response from Alibaba.com, Aliexpress.com,

Wish.com, and PayPal.com parties regarding the requested discovery related to Defendants’

identifying information and associated financial accounts.

       6.      Once Plaintiff receives the required information from the third parties, Plaintiff can

begin the process of identifying and freezing those accounts within the control of third-party

payment processors, including providing the Defendants’ identifying information. As such,

Plaintiff and the third parties require more time to ensure compliance with this Court’s Temporary

Restraining Order.

       I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct.

       Executed on the 30th day of April, in Dallas, Texas.

                                                              _/s/ Stevenson Moore
                                                              Stevenson Moore
